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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

JOSEPH BEVINS,                        :

                 Plaintiff            :   CIVIL ACTION NO. 1:24-cv-1795

        v.                            :          (JUDGE MANNION)

JASEN BOHINSKI, et al.,               :

                  Defendants          :


                               MEMORANDUM

       Presently before the court is Defendants’ motion to dismiss (Doc. 12)

pro se prisoner Joseph Bevins’ Civil Rights Action brought under 42 U.S.C.

§1983 for failure to state a claim upon which relief can be granted pursuant

to Fed. R. Civ. P. 12(b)(6). Plaintiff filed his complaint as an inmate

incarcerated within the Pennsylvania Department of Corrections (“DOC”),

alleging violations of his Eighth Amendment rights by several correctional

employees. (Doc. 1). For the reasons discussed below, Defendant’s motion

to dismiss will be DENIED.

  I.     BACKGROUND

  Plaintiff Joseph Bevins, an inmate who was incarcerated at the State

Correctional Institution at Dallas, Pennsylvania (SCI-Dallas) at all relevant

times, initiated the instant §1983 action on October 18, 2024, against
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Defendants, Jasen Bohinski, Pedro Garcia, and “multiple correctional

officers to be named”, claiming that he faced prison conditions that amounted

to a deprivation of his basic human needs in violation of his Eighth

Amendment rights. (Doc. 1, p. 7). Specifically, Plaintiff alleges that he was

denied twenty-four meals between May 31, 2024, and July 2, 2024, and that

an additional five meals were deliberately dropped on the floor between June

2, 2024, and July 7, 2024. (Id., p. 5). He further alleges that the running

water in his cell stopped working between June 2, 2024, and June 13, 2024,

with the exception of two hours on June 5, 2024. (Id.). As a result, Plaintiff

claims to have suffered significant weight loss, stomach pains, and

dehydration. (Id., p.7).

   The complaint claims that Defendants were notified of the above alleged

deprivations yet acted with “deliberate indifference” by failing to remedy

them. (Id.). On June 11, 2024, Plaintiff states that he handed his initial

grievance regarding the denial of his meals and lack of running water to

Correctional Officer Bohinski through his tray slot. (Id., p. 5). After describing

his treatment to Bohinski, Plaintiff told him that he “feared for his life”. (Id.).

   Despite his complaints, Plaintiff claims that correctional officers

continued to deny him his meals until twenty-seven days after he notified




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Bohinski. He also claims that Correctional Officer Garcia was made aware

of the lack of running water in his cell six days before it was restored.

   Defendants filed the instant motion to dismiss on December 30, 2024, as

well as their brief in support on January 14, 2025, insisting that Plaintiff’s

complaint be dismissed for failure to state a claim. (Doc. 13). Plaintiff

responded with a brief in opposition on January 22, 2025. (Doc. 15). The

motion is now ripe for disposition.

   II.   STANDARD OF REVIEW

   Section 1983 of Title 42 of the United States Code offers private citizens

a cause of action for violations of federal law by state officials. See 42 U.S.C.

§1983. To state a claim under §1983, a plaintiff must allege “the violation of

a right secured by the Constitution and laws of the United States, and must

show that the alleged deprivation was committed by a person acting under

color of state law.” West v. Atkins, 487 U.S. 42, 48 (1988).

   In considering a motion to dismiss pursuant to Rule 12(b)(6), courts

“accept all factual allegations as true, construe the complaint in the light most

favorable to the plaintiff, and determine whether, under any reasonable

reading of the complaint, the plaintiff may be entitled to relief.” Phillips v.

County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (quoting Pinker v.

Roche Holdings Ltd., 292 F.3d 361, 374 n.7 (3d Cir. 2002)). In resolving a


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motion to dismiss pursuant to Rule 12(b)(6), a court generally should

consider only the allegations in the complaint, as well as “documents that are

attached to or submitted with the complaint, ... and any matters incorporated

by reference or integral to the claim, items subject to judicial notice, matters

of public record, orders, [and] items appearing in the record of the case.”

Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006).

   “A Rule 12(b)(6) motion tests the sufficiency of the complaint against the

pleading requirements of Rule 8(a).” I.H. ex rel. D.S. v. Cumberland Valley

Sch. Dist., 842 F. Supp. 2d 762, 769–70 (M.D. Pa. 2012). While a complaint

attacked by a Rule 12(b)(6) motion to dismiss need not contain detailed

factual allegations, it must contain “sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’ ” Ashcroft v. Iqbal,

556 U.S. 662, 677–78 (2009). Accordingly, to satisfy the plausibility

standard, the complaint must indicate that defendant’s liability is more than

“a sheer possibility.” Id. at 678. “Where a complaint pleads facts that are

‘merely consistent with’ a defendant’s liability, it ‘stops short of the line

between possibility and plausibility of entitlement to relief.’ ” Id. (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)).

   Under the two-pronged approach articulated in Twombly and later

formalized in Iqbal, a district court must first identify all factual allegations


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that constitute nothing more than “legal conclusions” or “naked assertions.”

Twombly, 550 U.S. at 555, 557. Such allegations are “not entitled to the

assumption of truth” and must be disregarded for purposes of resolving a

12(b)(6) motion to dismiss. Iqbal, 556 U.S. at 680. Next, the district court

must identify “the well-pleaded, nonconclusory factual allegation[s]” of the

complaint, take them as true, and determine whether the complaint states a

plausible claim for relief. Id.

   As a general rule, a document filed pro se is “to be liberally construed.”

Estelle v. Gamble, 429 U.S. 97, 106 (1976). A pro se complaint, “however

inartfully pleaded,” must be held to “less stringent standards than formal

pleadings drafted by lawyers” and can only be dismissed for failure to state

a claim if it appears beyond a doubt that the plaintiff can prove no set of facts

in support of his claim which would entitle him to relief. Haines v. Kerner, 404

U.S. 519, 520-21 (1972). Further, the Third Circuit has instructed that if a

complaint is vulnerable to dismissal for failure to state a claim, the district

court must permit a curative amendment, unless an amendment would be

inequitable or futile. Grayson v. Mayview State Hosp., 293 F.3d 103, 108 (3d

Cir. 2002).

   Finally, “a complaint may not be dismissed merely because it appears

unlikely that the plaintiff can prove those facts or will ultimately prevail on the


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merits.” Phillips, 515 F.3d at 231 (citing Twombly, 127 S. Ct. 1964-65, 1969

n.8). Rule 8 “does not impose a probability requirement at the pleading stage,

but instead simply calls for enough facts to raise a reasonable expectation

that discovery will reveal evidence of the necessary element.” Id. at 234.

   III.     DISCUSSION

   Defendants move to dismiss the complaint on the following grounds: (1)

Plaintiff’s allegations regarding the deprivation of meals does not amount to

an Eighth Amendment violation; and (2) Plaintiff’s claim regarding his water

being shut off should be dismissed because he failed to plead that he did not

have an alternative access to water. (Doc. 13). For the reasons that follow,

the court finds that Plaintiff has made sufficient allegations for the purposes

of withstanding the instant motion.

          A. Eighth Amendment

   To state a claim under the Eighth Amendment that the right to be free

from cruel and unusual punishment has been violated, an inmate

complaining of prison conditions must allege facts that, if true, would satisfy

both an objective and subjective test. See Wilson v. Seiter, 501 U.S. 294,

298 (1991). First, a prisoner must show that the alleged deprivation is

“sufficiently serious” and that he has been deprived of the “minimal civilized

measure of life’s necessities.” Farmer v. Brennan, 511 U.S. 825, 834 (1994).


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Second, from a subjective point of view, a prisoner must demonstrate that

prison officials possessed a “sufficiently culpable state of mind” and

demonstrated “deliberate indifference” to his health or safety. Id. (citing

Hudson v. McMillian, 503 U.S. 1, 8–9 (1992)).

          a. Food Deprivation Claim

                i. Sufficiently Serious Deprivation

   Plaintiff alleges that he was denied a total of twenty-four meals over a

span of thirty-three days.1 In determining whether a deprivation of food claim

rises to the level of an Eighth Amendment violation, “ ‘courts have stressed

the duration of the complainant’s exposure to the alleged unconstitutional

conditions and the totality of the circumstances’ as critical to a finding of cruel

and inhumane treatment.” Adderly v. C.O. Eidem, No. 3:11-CV-694, 2017

WL 4125262, at *7–8 (M.D. Pa. Sept. 18, 2017) (citing Rhodes v. Chapman,

452 U.S. 337, 362-63 (1981). Only ”extreme deprivations” will trigger a

”conditions-of-confinement claim.” Hudson v. McMillian, 503 U.S. 1, 9

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         Defendants incorrectly assert that Plaintiff’s alleged duration of food
deprivation is six weeks. (Doc. 13, p.6). The listed dates in Plaintiff’s
complaint to which he claims to have been denied meals range from May 31,
2024, to July 2, 2024. (Doc. 1, p.5), just short of five weeks. Although he
makes a separate claim that, on five separate dates, one of his meals were
deliberately dropped on the floor, he did not include these five instances into
the number of meals missed. Therefore, the court will not factor the dates
where Plaintiff’s meals were deliberately dropped into the duration of days
Plaintiff was deprived of his meals.

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(1992). Courts have held that repeated and unjustified denial of food to

inmates amounts to an extreme deprivation, while the denial of a few single

meals on various days does not rise to the level of a constitutional violation.

See Lindsey v. O'Connor, 327 Fed.Appx. 319, 321 (3d Cir. 2009) (citing

Robles v. Coughlin, 725 F.2d 12, 15 (2d Cir. 1983)).

   Defendants cite to a holding from U.S District Judge Mariani of the Middle

District of Pennsylvania in Adderly to support their argument that Plaintiff’s

claim falls short of an Eighth Amendment violation. (Doc. 13, p. 4). As

Defendants indicate in their supporting brief, Judge Mariani utilized a Fifth

Circuit case to guide his analysis in determining whether a food deprivation

claim rose to the level of an Eighth Amendment violation by calculating the

percentage of meals missed within the duration of time that the deprivation

persisted. See Adderly, 2017 WL 4125262, at *7-8 (citing Talib v. Gilley, 138

F.3d 211, 214 n.3 (5th Cir. 1998)). The Fifth Circuit concluded that fifty meals

missed over a five-month span (roughly one out of every nine, or 11% of total

meals missed) was “hardly more than that missed by many working citizens

over the same period”. Talib, 138 F.3d at n.3. From this holding, Judge

Mariani had little trouble finding that Adderly’s claim of fifty-four meals missed

over the course of a one-year period (approximately 4.9% of total meals




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missed) amounted to a de minimis injury. See Adderly, 2017 WL 4125262,

at *7-8.

   Using this calculation, Plaintiff missed approximately 24% of his total

meals (24 meals lost ÷ 33 days x 3 meals per day). Despite Plaintiff’s “meals

missed ratio” being roughly twice that of the inmate in Talib, Defendants

attempt to bolster their de minimis argument with two additional cases of

inmates missing less than 5% of their total meals. (Doc. 13, p.6). However,

the distinction between these cases and Plaintiff’s claim leaves them with

little value. Consequently, Defendants are left to rely on Talib to argue that a

de minimis finding of an inmate with a 11% meals-missed ratio should extend

to Plaintiff’s 24%. Said differently, Defendants argument asks this court to

assume that, because one out of every nine meals qualifies as a de minimus

injury, it follows that one out of every four meals does as well. While

precedent is limited, one case to the contrary is enough to prevent this court

from taking that leap. See Zanders v. Ferko, 439 F. App'x 158, 160 (3d Cir.

2011); (citing Foster v. Runnels, 554 F.3d 807, 814 (9th Cir. 2009) (holding

that the denial of sixteen meals over twenty-three-day period [23.2%] was

sufficiently serious deprivation for purposes of the Eighth Amendment).




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               ii.   Deliberate Indifference

   “Prison officials have a duty under the Eighth Amendment to provide

humane conditions of confinement. They must ensure that inmates receive

adequate food, clothing, shelter, and medical care, and must protect

prisoners from violence at the hands of other prisoners.” Farmer, 511 U.S.

at 825. “A prison official may be held liable under the Eighth Amendment for

acting with “deliberate indifference” to inmate health or safety only if he

knows that inmates face a substantial risk of serious harm and disregards

that risk by failing to take reasonable measures to abate it.” Id.

   Plaintiff claims that on June 11, 2024, he handed Defendant Bohinski a

grievance and verbally notified him that he was being denied meals and

feared for his life. (Doc. 1, p.5). Nonetheless, the food deprivation continued

until July 2, 2024, more than twenty days later. The potential risk of harm

caused by the repeated denial of meals is obvious, and Bohinski had a duty

to take reasonable measures to resolve this issue once he was notified. The

claim that he failed to do so is enough to suggest that he acted with deliberate

indifference to Plaintiff’s health and safety.

         b. Water Deprivation Claim

   As for his water deprivation claim, Plaintiff alleges that his sink stopped

functioning as of June 2, 2024, and remained off until June 13, 2024, with


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the exception of running water for two hours on June 5, 2024. He claims

further that Defendant Garcia was put on notice that his water was not

running six days before it was restored, and Bohinski two days before.

   In their motion, Defendants argue that lack of running water allegations,

without more, are insufficient to state an Eight Amendment claim. (Doc. 13,

p. 7). They make this argument quoting from the District Court’s findings in

Dantzler v. Russell, No. 23-CV-4749, 2024 WL 1120381, at *3 (E.D. Pa. Mar.

14, 2024), and, with an implicit acknowledgement of its non-binding

authority, reassures the court that Dantzler’s holding was guided by Third

Circuit precedent. However, in both of these Third Circuit cases referenced

by Defendants in their supporting brief (Doc. 13, p.7), there was no dispute

regarding whether the inmate had access to other sources of drinking water.

Collier v. Adams, 602 F. App'x 850, 852 (3d Cir. 2015) (no violation where

prisoner’s water was shut off for 77 hours, but other fluids were available to

him); Chavarriaga v. New Jersey Dep't of Corr., 806 F.3d 210, 228-29 (3d

Cir. 2015) (a violation where the inmate alleged a complete lack of potable

water for three days). In the instant case, it is unclear whether Plaintiff had

other sources of drinking water throughout the duration that his water was

allegedly shut-off.




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     The court agrees that if Plaintiff were to have access to adequate

hydration during the period in question, his water deprivation claim would fall

short of the “sufficiently serious” threshold and would necessarily fail. But

whether Dantzler’s interpretation — that inmates must explicitly allege a lack

of alternative sources of drinking water to state an Eighth Amendment claim

— reflects that of the Third Circuit, is unclear. See Collier v. Martinez, 474

Fed. Appx. 870, 874 n.5 (3d. Cir. 2012) (making an inference that Plaintiff’s

claim is one about deprived access to fluids and not merely about the dry

conditions in his cell). But given the court’s obligation at this stage to construe

Plaintiff’s complaint in the light most favorable to him, and given that

dehydration was one of the alleged injuries (Doc. 1, p.7), the court finds that

the allegations raise a reasonable expectation that discovery will reveal the

remaining evidence necessary to determine liability.

    IV.      CONCLUSION

    Based on the foregoing, Defendants’ motion to dismiss (Doc. 12) is

DENIED. An appropriate order follows.



                                          s/ Malachy E. Mannion
                                          MALACHY E. MANNION
                                          United States District Judge

DATE: June 3, 2025
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